        Case 4:19-cr-00037-BSM Document 162 Filed 02/24/20 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA                  )                                    PLAINTIFF
                                          )
V.                                        )   CASE NO. 4:19CR00037-06 BSM
                                          )
TERRI BLEVINS                             )                                  DEFENDANT


              DEFENDANT’S MOTION FOR DETENTION HEARING

       Comes now the Defendant, Terri Blevins, by and through her attorney, Nicki

Nicolo, and for her Motion for Detention/Bond Hearing, states:

       1.     Defendant appeared on October 18, 2019 for plea and arraignment. Ms.

Nicolo, CJA attorney, was appointed to represent Ms. Blevins. Defendant reserved her

right to request a detention hearing.

       2.      Defendant is now requesting a detention/bond hearing before this Court as

soon as practicably possible.

       3.      Pursuant to the Bail Reform Act, Defendant prays for release on her own

personal recognizance or, in the alternative, release upon conditions by this Court.

       WHEREFORE, Defendant, Terri Blevins prays this Court grant her Motion for

Detention/Bond Hearing, and for all other relief to which she may be entitled.

                                          Respectfully Submitted,

                                    By:   NICKI NICOLO
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